         Case 1:17-cr-00220-TSC Document 1-1 Filed 11/13/17 Page 1 of 1



                                   STATEMENT OF FACTS
        On or about November 10, 2017, at approximately 12:09 p.m. an attempt robbery occurred
at the Wells Fargo Bank located at 444 North Capitol Street, NW, Washington, D.C., an entity
whose deposits are insured by the Federal Deposit Insurance Corporation (FDIC). The suspect
entered the bank and asked for a withdrawal slip, then handwrote a demand note that stated, “this
is bank robbery don’t scream.” The victim teller did not comply and walked away from the teller
station while activating the silent alarm. Officers received surveillance photographs from the bank
that showed the events of the robbery. The surveillance photographs reflects that the suspect was
a black female approximately 5’3 to 5’5, slim build, dark complexion, wearing a black hoodie
coat, dark large frame sunglasses, red gloves, black pants and carrying a black backpack.
        Officers responded to the bank, observed the suspect standing at the victim teller’s station.
Officers were advised that the person standing at the teller station was the suspect. The suspect
was placed under arrest for attempted bank robbery. Search incident to arrest, Officers found a
BB gun in the defendant’s backpack which was never displayed during the attempted bank
robbery. A witness from the bank identified the defendant as being the person who attempted to
rob the bank.
       The suspect was transported to the Metropolitan Police Headquarters for processing and
refused to talk or give any identifying information. The suspect was processed a Jane Doe.


                                              ________________________________________
                                              SPECIAL AGENT CHAD M. FLEMING
                                              FEDERAL BUREAU INVESTIGATION


SWORN AND SUBSCRIBED BEFORE ME ON THE _____ DAY OF NOVEMBER, 2017.


                                              ___________________________________
                                              G. MICHAEL HARVEY
                                              UNITED STATES MAGISTRATE JUDGE
